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                                                     United States District Court
                                                      Southern District of Iowa
                                                      Davenport Division

Date: March 26, 2007
In Session at: 9:03 am
Recessed at: 9:40 am
                                      CLERK’S COURT MINUTES- SENTENCING
Presiding: Honorable JOHN A. JARVEY, U.S. DISTRICT JUDGE
Attorney(s) for Government: Clifford Cronk III
Attorney(s) for Defendant: Donovan S. Robertson
Criminal Number: 3:05-cr-525                                         : Court Reporter: Linda Egbers
UNITED STATES OF AMERICA,                                            : Interpreter: N/A
                       Vs.                                           :       ✔ Indictment                      Information in 2 Ct(s)
                                                                     : Code Violation/Offense:
  LEBARON HARRIS                                                     : Superseding Indictment
                                                                     : 18:2113(a) & 2113(d)
                                                                     : Bank Robbery
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Defendant appeared on November 18, 2006 and pled guilty to Ct(s) One (1) & Two (2) and
reaffirms plea. Jury verdict of guilty to Ct(s)                                                      returned on
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Minutes:
Counsel addressed the Court about the upward departure. Counsel addressed sentencing issues. Defendant addressed the
Court. Government reads the victim impact statement. Defendant is sentenced by the Court on the superseding
indictment. Defendant is advised of appeal rights.


Judgment:
 Defendant is sentenced to 235 months on counts one and two, sentence to run concurrently with each other. Defendant
 shall serve a term of 3 years of supervised release, supervised release shall to run concurrently with each other.
 Restitution in the amount of $5,119.00 and CVF of $200.00.




ORDERED, Restitution: $5,119.00
ORDERED, Crime Victims Fund Assessment: $200.00               Fine:
ORDERED, Count(s) Dismissed:                      Gov. motion         Deft. motion
ORDERED, Commitment withheld until                         at               .
BOND previously set:                          Bond continued   ✔    Deft. committed


                                                                             /s/ Brian Phillips
                                                                                Deputy Clerk
